      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 1 of 27 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ISABEL RUBINAS, and                                   )
IJR CORP.,                                            )
                                                      )
               Plaintiffs,                            )
v.                                                    )
                                                      )
NICOLAS MADUROS, DIRECTOR,                            )       Case No.
CALIFORNIA DEPARTMENT OF                              )
TAX & FEE ADMINISTRATION,                             )
                                                      )
               Defendant.                             )


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff, Isabel Rubinas, for her Complaint against Defendant, Nicolas Maduros, Director,

California Department of Tax & Fee Administration, states as follows:

                                       Summary of Claims

       1.      This is an action for declaratory and injunctive relief arising out of California tax

officials’ unconstitutional demand for money from non-Californians to make up for the state’s

subsidies to Amazon. In this instance, California’s tax collectors have reached deep into Illinois to

crush a small children’s clothing boutique owner. Not because of what she did, but because of

what California tax officials did for nearly a decade and now need to clean up—they let Amazon

avoid collecting taxes on most sales in Amazon’s store. Years later, the state decided it wanted

those taxes after all. But since Amazon is powerful, and non-resident small business owners like

Ms. Rubinas are not, California has decided to target them to cover Amazon’s debts. By demanding

that Ms. Rubinas pay for taxes that the agency let Amazon avoid collecting, California is violating

Ms. Rubinas’s rights under the Internet Tax Freedom Act, the Due Process Clause, and the
      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 2 of 27 PageID #:2




Commerce Clause. Ms. Rubinas brings this action to prevent further violations of federal law and

the accordant destruction of her business.

                                             Introduction

       2.      For most of the last decade, California’s Department of Tax & Fee Administration

(CDTFA) allowed Amazon to refuse to collect sales taxes on most sales in its store, Amazon.com.

That gave Amazon an instant pricing advantage over its competitors, who did collect taxes. In

exchange, Amazon gave the state “benefits” in the form of promised development. That might just

be a bad deal for Californians and competing businesses, but recently CDTFA decided to take it

further. California wants those uncollected taxes after all—not from Amazon, but from Amazon’s

suppliers outside the state, who tend to be small businesses and have none of Amazon’s political

or economic power within California. According to California, those non-resident small businesses

are now liable for the very taxes the agency let Amazon refuse to collect. Back to 2012. The

amounts are crushing, and when California’s targets don’t pay—most can’t—the state will seize

their bank accounts.

       3.      California’s Treasurer, Fiona Ma, has criticized CDTFA’s actions as “unlawful,

unconstitutional, and impractical,” and pleaded with Governor Newsom to stop CDTFA from

arbitrarily destroying peoples’ livelihoods. 1 But CDTFA continues to exceed its lawful authority

and inflict damage on the interstate marketplace and small businesses outside of California.




       1
         March 8, 2019 Letter from Treasurer Fiona Ma, CPA, to Governor Gavin Newsom,
Exhibit 1. Prior to her service as Treasurer, Ms. Ma was Chair of the California Board of
Equalization, which at the time was the state’s sales tax agency.


                                                 -2-
      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 3 of 27 PageID #:3




       4.        Plaintiff Isabel Rubinas is one such target. This case should not be necessary,

because what is happening to Ms. Rubinas should not happen in a society founded on the rule of

law. But it is happening—to her and thousands of other Illinoisans and Americans. 2

       5.        Ms. Rubinas owns a children’s clothing boutique, Lollipop Seeds, which she

operates from her kitchen table in Glen Ellyn.3 Most of Ms. Rubinas’s sales take place via

Amazon’s store, Amazon.com. Ms. Rubinas participates in Amazon’s Fulfilled by Amazon (FBA)

program, which uses a consignment model. Essentially, Ms. Rubinas supplies goods to Amazon,

which Amazon warehouses in a network of nearly 200 facilities in North America. Amazon

promotes products and determines which search results consumers see if they search for, say,

“girl’s pajamas size 4.” Amazon is the cashier for every transaction and delivers the goods—that

is, the orders are fulfilled by Amazon. At the end of the day, Amazon keeps most of the profit and

remits a fraction to Ms. Rubinas.

       6.        Ms. Rubinas is just one of thousands of affected individuals. Covid-19 devastated

her business as the market for discretionary goods dried up; her sales are down 75%. She would

be able to scrape by and hold out hope for a better 2021 were it not for CDTFA. In late December,

CDTFA issued a surprise levy on her bank account—and then seized thousands of dollars. With

her account frozen and funds depleted, Ms. Rubinas will be unable to pay business debts due in

late January, which will lead to the destruction of her livelihood.




       2
          See, e.g., Harold Brubaker, “California Hits Philly-Area Amazon Seller with $1.6 Million
Sales-Tax        Bill,”     The     Philadelphia        Inquirer    (November       5,     2019),
https://www.inquirer.com/business/california-sales-tax-amazon-seller-philadelphia-business-
20191105.html (reporting how CDTFA has targeted “hundreds of thousands of [FBA] merchants”
for the taxes that CDTFA let Amazon avoid collecting years earlier).
       3
           Declaration of Isabel Rubinas, attached as Exhibit 2.


                                                 -3-
      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 4 of 27 PageID #:4




       7.     CDTFA’s actions violate federal law. First, the Internet Tax Freedom Act prohibits

CDTFA from imposing a tax-collection obligation on e-commerce merchants different than the

obligation CDTFA imposes on similar brick-and-mortar merchants. Amazon’s FBA program is a

consignment model. In the brick-and-mortar context, CDTFA requires consignment shops—who

interact directly with consumers at the point of sale—to collect taxes. But CDTFA created a

different rule to benefit Amazon, which burdens predominantly out-of-state consignment suppliers

like Ms. Rubinas. Through the ITFA, Congress specifically outlawed such beneficial treatment for

parochial interests. Second, CDTFA lacks personal jurisdiction over Ms. Rubinas based on

Amazon’s unilateral decision to store FBA goods in Amazon’s California warehouses. And

without personal jurisdiction over Ms. Rubinas, CDTFA cannot impose tax-collection obligations

on her. Third, CDTFA’s retroactive imposition of tax liability—to fix a problem of the agency’s

own wrongful making—violates the Due Process Clause and other restrictions on retroactive

changes to the law. Fourth, CDTFA is burdening the participation of a small business in the

interstate economy in violation of the Commerce Clause.

                                    Jurisdiction and Venue

       8.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 because

this case arises under the Constitution and laws of the United States, including the Internet Tax

Freedom Act, the Due Process Clause, the Commerce Clause, and 42 U.S.C. § 1983.

       9.     The Court has personal jurisdiction over defendant Maduros because he has

directed tortious conduct at Ms. Rubinas in the Court’s Eastern Division, where she resides,

including through agents such as CDTFA employee Shannon Hale. At Director Maduros’s

direction, Ms. Hale pursued Ms. Rubinas in Illinois, seized the bank account Ms. Rubinas opened

in Illinois, and withdrew Ms. Rubinas’s funds from that account.




                                              -4-
      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 5 of 27 PageID #:5




       10.     Venue is proper in the Court’s Eastern Division under 28 U.S.C. § 1391 because a

“substantial part of the events or omissions giving rise to the claim occurred” within that division.

       11.     The Tax Injunction Act does not preclude this Court’s exercise of jurisdiction

because, inter alia, California deprives Ms. Rubinas of an adequate state-court remedy to prevent

and redress her injuries.

                                              Parties

       12.     Plaintiff Isabel Rubinas is a resident of Illinois. Through IJR Corp., an Illinois

corporation, Ms. Rubinas operates Lollipop Seeds, a children’s clothing e-commerce boutique.

Lollipop Seeds primarily supplies goods for Amazon’s FBA program. Within this complaint, “Ms.

Rubinas” generally refers to IJR Corp. and Lollipop Seeds.

       13.     Defendant Nicolas Maduros is the Director of CDTFA, which is the California state

agency responsible for collection of sales and use taxes. Defendant Maduros and CDTFA are

residents of California. Prior to 2017, the California Board of Equalization implemented the

scheme addressed herein. But after a series of scandals and state and federal criminal

investigations, those responsibilities were transitioned to the newly created CDTFA. 4 For

simplicity, we generally refer to the agency by its current name.




       4
          See, e.g., Patrick McGreevy, “In Massive Shake-Up, Gov. Jerry Brown Breaks Up
California’s Scandal-Plagued Tax Collection Agency,” L.A. Times (June 27, 2017),
https://www.latimes.com/politics/la-pol-ca-tax-board-overhaul-20170627-story.html (describing
how the BOE was “the target of an investigation by the Department of Justice, and its members
and employees have been accused by auditors of mismanagement that included putting $350
million in sales taxes in the wrong accounts, and improperly interfering with decisions to open
field offices and transfer staff,” and how an audit “discovered board members were undermining
the executive director and transferring tax collections staff to direct parking and crowd control at
conferences that boosted the members’ standing in the community”).


                                                -5-
      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 6 of 27 PageID #:6




       14.       CDTFA operates an office on LaSalle Street, which CDTFA uses to identify and

target Illinois businesses for the collection of California taxes as challenged herein. 5

                           Factual Allegations Common To All Counts

                                     Amazon’s FBA Program

       15.       Because Amazon’s FBA program forms part of the background of this controversy,

Ms. Rubinas will provide a brief overview of that program.

       16.       Amazon’s store is the dominant e-commerce store in the country, and is the primary

locus of Ms. Rubinas’s e-commerce business. Amazon’s importance to e-commerce, and small

business e-commerce in particular, cannot be overstated. According to some reports, Amazon has

nearly half of the entire e-commerce market in the U.S. 6 The closest “competitor,” the behemoth

Walmart, has less than 10% of the market. 7

       17.       The gist of FBA is that Amazon relies on millions of “third-party merchants” like

Ms. Rubinas to source goods for Amazon’s store. Those merchants identify and source items that

might sell in Amazon’s store. The merchants convey the goods to Amazon to warehouse, promote,

and sell to consumers. That is, Amazon fulfills the order, hence the name, Fulfilled by Amazon.

(By contrast, a smaller fraction of sales on Amazon are what Amazon considers “first-party” sales,

in which Amazon itself sources the goods.) Both FBA and “first-party” sales arrive in Amazon

packaging and are substantively indistinguishable to consumers. FBA has contributed to Amazon’s



       5
           CDTFA,       “Office   Locations     &    Addresses,”    https://www.cdtfa.ca.gov/office-
locations.htm.
       6
          See, e.g., Wayne Duggan, Latest E-Commerce Market Share Numbers Highlight
Amazon’s Dominance, Yahoo! Finance (Feb. 4, 2020) (“Bank of America estimates Amazon
currently has about 44% of U.S. e-commerce market share, up from 40% in 2018. Walmart is a
distant second at just 7%, followed by eBay at 5% and Target at just 2%.”).
       7
           Id.


                                                 -6-
      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 7 of 27 PageID #:7




success by allowing the company to externalize various supply chain costs—and by allowing

Amazon to offer artificially low prices by avoiding collecting sales tax.

        18.    As Amazon has testified to Congress, Amazon.com is “our store,” and Amazon

shoppers are the company’s “customers.” 8 Amazon’s control over Amazon.com, including the

FBA program, is total. Third-party merchants like Ms. Rubinas do little more than source products,

as suppliers of consigned inventory, for possible sale on Amazon. Merchants propose an offering

to Amazon. 9 Amazon has full discretion to approve the products for sale, and to approve or reject

the price, using an internal algorithm whose precise features are unknown to merchants. Amazon

also retains editorial control over product listings. Amazon also controls where and how products

are listed on the site—i.e., the results consumers see when they make searches. Amazon sets the

return policy and makes all final decisions when it comes to servicing Amazon’s customers, even

if that means forcing merchants like Ms. Rubinas to absorb the cost of a refund to Amazon’s

customers without a return.

        19.    After Amazon approves a merchant’s proposed listing, Amazon will direct the

merchant to ship the products to a warehouse of Amazon’s choosing. From there, Amazon may

keep the goods in that warehouse, or ship them anywhere for positioning, including after breaking

up the lot.

        20.    Amazon is in privity with consumers, whom Amazon deems the company’s

“customers.” By contrast, under the terms of merchants’ agreement with Amazon, merchants are




        8
          Written Testimony of Jeffrey P. Bezos, U.S. House of Representatives, Committee on the
Judiciary, Subcommittee on Antitrust, Commercial and Administrative Law (July 29, 2020),
https://assets.documentcloud.org/documents/7009139/Jeff-Bezos-Written-Testimony.pdf.
        9
          See Amazon Services Business Solutions Agreement,
https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US.


                                               -7-
      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 8 of 27 PageID #:8




not in privity with consumers. Amazon prohibits marketing contact between suppliers and

customers, so as to preserve Amazon’s relationship with the customer and limit competition from,

say, the supplier’s own website.

       21.     After a consumer purchases a product, Amazon is responsible for selecting the

warehouse from which to draw the product, packing the product, and shipping it to the consumer.

Amazon also collects payment, and—after holding onto the funds for several weeks—credits the

merchant’s account. On FBA sales, Amazon charges merchants a commission that can reach 45%.

FBA is critical to survival on Amazon despite the high commission. FBA can account for over

90% of sales for many merchants, including Ms. Rubinas.

       22.     To avoid liability, Amazon has likened itself to a mall or flea market, but that

characterization fails the common-sense test. No mall controls essentially every element of every

consumer transaction. The Water Tower Place, for example, does not dictate what all of the dozens

of stores inside offer and at what price. Nor does it mediate all of their interactions with consumers.

Nor does it run the cash registers. Nor does it store goods in its proprietary warehouses and deliver

them in Water Tower Place packaging. The list of differences could go on, which is why courts

that have examined the reality of Amazon’s operations have rejected the company’s self-

characterizations as “absurd.” 10

       23.     As California’s courts have recognized, “[a]s a factual and legal matter, Amazon

place[s] itself between [suppliers] and [consumers] in the chain of distribution . . . . Amazon

accept[s] possession of the product, . . . store[s] it in an Amazon warehouse, attract[s] [consumers]

to the Amazon website, provide[s] [consumers] with a product listing . . . , receive[s] [consumer]


       10
          Amazon Services, LLC v. S.C. Dep’t of Rev., No. 17-ALJ-17-0238-CC (S.C. Admin. Law
Ct. Sept. 10, 2019), https://src.bna.com/Leb (rejecting Amazon’s contortive attempts to avoid the
obvious).


                                                 -8-
      Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 9 of 27 PageID #:9




payment for the product, and ship[s] the product in Amazon packaging . . . .” Bolger v.

Amazon.com, LLC, 53 Cal. App. 4th 431, 438 (2020), review denied, 2020 Cal. LEXIS 7993 (Cal.

2020). As the Bolger court explained, “Amazon act[s] as an intermediary between an upstream

supplier [e.g., Ms. Rubinas] and the ultimate consumer. Amazon accept[s] an order for a product,

bill[s] the consumer, and remit[s] the proceeds to the upstream supplier.” Id. at 450. Amazon goes

“further. It [takes] possession of the product, so it fulfill[s] the consumer’s order directly.” Id.

Given Amazon’s “pivotal” control over the FBA products the company warehouses, markets, and

sells, the law has little trouble holding Amazon liable for FBA sales on Amazon.com. Id. at 438.

       24.     Once merchants like Ms. Rubinas transfer custody of their goods to Amazon, they

have no say in where Amazon moves the goods. To implement FBA, Amazon has a network of

more than 180 fulfillment and sortation centers around North America. 11 Amazon no doubt has a

sophisticated algorithm for where it stores items, but that algorithm is unknown to merchants and

beyond their control. Amazon has several FBA facilities in California, where the company

unilaterally chooses to store suppliers’ goods. Ms. Rubinas has no control over which warehouse

or warehouses Amazon chooses to use for storage. She cannot order Amazon to use or not use

warehouses in certain states. Nor can she order Amazon to pull goods out of certain states. When

a consumer makes a purchase, Ms. Rubinas cannot tell Amazon which warehouse to ship the item

from. Nor can she realistically “cancel” sales from particular warehouses or to particular locations.

       25.     The following FBA fact pattern is representative. Say that Ms. Rubinas, located in

Chicago, sources children’s pajamas and proposes a listing to Amazon. After Amazon approves

the listing, Amazon directs her to ship a lot of ten pairs of pajamas to the nearest warehouse in



       11
           Seller Essentials, Amazon Warehouse Locations,
https://selleressentials.com/amazon/amazon-fulfillment-center-locations/.


                                                -9-
     Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 10 of 27 PageID #:10




Cicero. Her role in the process is essentially over—Amazon now has control over “our inventory

of your products.” 12 Amazon unilaterally decides to break up the lot, keeping some of the inventory

in the Midwest, and positioning the rest around the country. Months later, an Amazon customer in

Sacramento searches for pajamas. Amazon decides which results to display. Assume that

Amazon’s customer unknowingly chooses the pajamas that happen to be stored in California—

perhaps because Amazon displayed that result first. The customer places an order, Amazon

accepts, and Amazon chooses to fulfill that order from the Stockton warehouse rather than others

because Amazon’s shipping costs are lower—which may well be why Amazon displayed that item

first. Or maybe Amazon orders Ms. Rubinas to ship to a warehouse in California, after which

Amazon chooses to keep some pieces in that state and move other pieces elsewhere. Ultimately,

to the extent there is any connection between Ms. Rubinas and California, it is because of

Amazon’s unilateral choices—which constrains California’s power to regulate or tax Ms. Rubinas.

                                   California’s FBA Tax Regime

        26.     The basic framework of California sales and use tax, which has existed for decades

and is similar to that of the other forty-four states that tax sales of personal property, is that in-state

retailers collect sales tax from the consumer at the point of sale, and then pass those collected

amounts on to the state. Use tax applies in the case of non-California sales. California consumers

are liable for use taxes, but California may under some circumstances seek for non-California

retailers to collect those taxes from consumers and remit them to the state. With respect to non-




        12
               Amazon,      Business     Solutions    Agreement    at   F-5                   Fulfillment,
https://sellercentral.amazon.com/gp/help/external/G1791?language=en_US.


                                                  - 10 -
     Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 11 of 27 PageID #:11




California retailers, California law treats use tax obligations as a form of debt (or penalty for failure

to collect the tax), rather than a tax per se. 13

        27.     One would expect Amazon to collect and remit the sales tax: it’s Amazon’s store;

Amazon has physical custody of the items; Amazon chose to store the items in California; Amazon

approves the listing, processes the sale, transfers the items to the customer, and collects payment.14

Until very recently, however, Amazon successfully defied its collection obligations, costing

California billions in uncollected sales tax.

        28.     To demonstrate the absurdity of the situation, in a single checkout, Amazon might

collect tax for its first-party sales while refusing to collect taxes from FBA sales in the same

“shopping cart.”




        13
           Cal Rev. & Tax Code § 6204; Bank of America v. Board of Equalization, 209 Cal.
App. 2d 780, 800 (1962) (“the liability of the retailer under section 6204 . . . is for a debt rather
than for taxes”).
        14
          See, e.g., Cal Rev. & Tax Code § 6014-15 (providing statutory definitions of those
obligated to collect sales taxes that match Amazon’s conduct); Cal. Reg. 1569 (“A person who
has possession of property owned by another, and also the power to cause title to that property to
be transferred to a third person without any further action on the part of its owner, and who
exercises such power, is a retailer when the party to whom title is transferred is a consumer. Tax
applies to his gross receipts from such a sale.”).


                                                    - 11 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 12 of 27 PageID #:12




       29.     This screen capture of an exemplar Amazon transaction highlights the nature of

Amazon’s tax avoidance scheme, the consequences of which are being placed on Ms.

Rubinas. This example uses Florida, as one of a handful of states that still allows Amazon to sell

goods tax-free (unlawfully); the example represents what a California transaction would have

looked like during the time period at issue in this case. In this picture, two products are placed in

a single shopping cart for checkout. One item, the Apple MacBook Air, is sourced directly from

Apple by Amazon and represented to the customer as “sold by Amazon Services LLC” to the

customer. The other product, the USB Hub, is sourced by Bauihr-us, which is whom Amazon



                                               - 12 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 13 of 27 PageID #:13




deems to be the purported seller. The sales tax rate in Palm Beach County, Florida, the destination

address, is 7%. Therefore, the $70 of tax collected in this transaction shows that Amazon only

takes responsibility for collecting tax on one out of the two items in the consumer’s shopping cart,

the $999.99 MacBook, and not the USB Hub. The whole transaction is governed by Amazon’s

terms and conditions and contract with its customer, as it would be if the consumer only purchased

the USB Hub. Even more striking is that the place of delivery is not the consumer’s home, but

inside Amazon’s subsidiary company Whole Foods. This further highlights the absurdity of

Amazon’s tax avoidance scheme—Apple could not sell the same computer tax-free from its own

store in the same town—and the corruption that has led California’s tax authorities to look the

other way and seek to recover their lost tax revenue from out-of-state merchants who supply the

Amazon store, versus Amazon itself.

       30.     The origins of that scheme have emerged through intrepid reporting and

whistleblowing. As The Philadelphia Inquirer reported, “[w]hen Amazon opened its first

warehouse in California in 2013, it escaped the obligation to collect the taxes on sales by third-

party merchants on the company’s site, apparently by convincing state officials that it was not the

retailer obligated to collect sales tax in those cases—a distinction that has since been undermined

by court decisions in South Carolina, Pennsylvania, and elsewhere.” 15

       31.     Around that time, when Amazon was building up the FBA program, states like

California were seeking to tax online sales and correct the advantage that Amazon had over brick-

and-mortar retailers. Amazon fought collecting taxes, until “cut[ting] a deal” to abandon the


       15
          Harold Brubaker, “California Hits Philly-Area Amazon Seller with $1.6 Million Sales-
Tax Bill,” The Philadelphia Inquirer (November 5, 2019),
https://www.inquirer.com/business/california-sales-tax-amazon-seller-philadelphia-business-
20191105.html; see also Amazon Services, LLC v. S.C. Dep’t of Rev., No. 17-ALJ-17-0238-CC
(S.C. Admin. Law Ct. Sept. 10, 2019), https://src.bna.com/Leb.


                                               - 13 -
     Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 14 of 27 PageID #:14




company’s ballot initiative to change California tax law in exchange for an additional tax-free

year. 16

           32.   As Amazon’s tax-free year was ending, CDTFA was apparently planning to treat

Amazon like any other store—i.e., the agency would require the company to collect sales tax on

all of its sales. In September 2012, CDTFA told reporters that Amazon would have to collect taxes

on FBA orders it fulfills: “Since Amazon is handling the merchandise and all aspects of the sale,

the [CDTFA] would consider them the retailer, and Amazon would have to collect tax on the

transaction.” 17 Here is the email from CDTFA’s Deputy Director—second in command—to the

media:




           16
           Jay Greene, “Amazon and California Lawmakers Cut Sales Tax Deal,” CNET.com
(September 8, 2011), https://www.cnet.com/news/amazon-and-california-lawmakers-cut-sales-
tax-deal/.
           17
         Declan McCullagh, “Amazon Shoppers Will Squeeze Through California Tax
Loophole,” CNET.com (September 11, 2012), https://www.cnet.com/news/amazon-shoppers-
will-squeeze-through-calif-tax-loophole/.


                                             - 14 -
     Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 15 of 27 PageID #:15




        33.        But hours after the reporter then asked Amazon for a quote in response, CDTFA

issued a late-night “updated” position: Amazon would retain its tax advantage over competing

retailers by refusing to collect tax on FBA sales. 18

        34.        Amazon’s artificially lower prices gave the company a significant pricing

advantage over brick-and-mortar stores and online competitors who did collect sales tax.

Consumers, predictably, shopped in the store with lower prices, which helped contribute to the

downfall of various retailers. The artificially low prices also helped lure consumers to enroll in

Amazon Prime, which was key to Amazon’s growth strategy. As the House Antitrust

Subcommittee concluded after a sixteen-month investigation, “Amazon expanded its market

power through avoiding taxes [and] extracting state subsidies.” 19 As Capital & Main observed,

“It’s highly likely that Amazon clears more profit than marketplace sellers on their transactions.

So Amazon, by proxy, benefits financially from third-party tax avoidance, and the pricing

advantage it provides. And, by not collecting tax, Amazon even avoids liability for mistakes made

by third-party sellers that could trigger audits.” 20 That is part of Amazon’s overall strategy:

“Amazon’s continuous resistance to collecting sales taxes made it the first major American

company to build its business based on tax avoidance. Contrary to popular belief, the company is

still resisting today.” 21


        18
             Id.
        19
           U.S. House of Representatives, Committee on the Judiciary, Subcommittee on
Antitrust, Commercial and Administrative Law, “Investigation of Competition in Digital
Markets: Majority Staff Report and Recommendations” at 261,
https://judiciary.house.gov/uploadedfiles/competition_in_digital_markets.pdf.
        20
          David Dayen, “The ‘Amazon Tax’ Ruling: Disrupting the Disruptors?,” Capital &
Main (July 10, 2018), https://capitalandmain.com/the-amazon-tax-ruling-disrupting-the-
disruptors-0710.
        21
             Id.


                                                - 15 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 16 of 27 PageID #:16




       35.     Why would California let Amazon escape paying billions of dollars in sales taxes?

According to California Treasurer Ma, recounting her efforts to make Amazon collect taxes during

her time as chair of CDTFA’s predecessor agency, the answer was simple: the “[n]umber one”

reason was that “the governor’s office has been trying to woo Amazon into putting a headquarters

here. I’ve been pushing [on tax collection] and they haven’t wanted to do anything up front.” 22

That regulatory favoritism is of a piece with other giveaways to Amazon. For example, California

offered Amazon hundreds of millions in “incentives” and bespoke regulation for a favored

business to locate HQ2 in the state. 23 Had the rule of law prevailed at that time, California would

have its tax revenues and Ms. Rubinas and thousands of other Americans would not find

themselves being made to pay for California’s political choices.

       36.     The sales tax piece of the giveaway scheme ended in late 2019, when Amazon

agreed to begin collecting taxes pursuant to California’s new “marketplace facilitator” law. But

what about the taxes Amazon refused to collect for the prior decade? That’s where CDTFA’s

pursuit of Ms. Rubinas and others like her comes in.

       37.     CDTFA is now trying to clean up for Amazon’s decade of tax avoidance. But rather

than looking to Amazon, CDTFA has actually partnered with Amazon to go after non-resident


       22
           Id. At the time, Treasurer Ma was Chair of the California Board of Equalization—i.e.,
the state’s top tax collector. She had investigated Amazon’s tax practices and operations within
the state. See August 31, 2017 Letter from Fiona Ma, Chair, BOE, to Keely Martin Bosler,
Cabinet Secretary, Office of Governor Brown, attached as Exhibit 4. Later, she was instrumental
in exposing the scandals at BOE that led to the creation of CDTFA. As Treasurer, she has
continued to advocate for CDTFA to comply with the law.
       23
           Jeff Collins, “Gov. Brown Pledges Hundreds of Millions in Incentives for Amazon
HQ2 in California,” The Orange County Register (October 18, 2017),
https://www.ocregister.com/2017/10/18/brown-pledges-hundreds-of-millions-in-tax-incentives-
for-amazon-hq2/ (documenting hundreds of millions in tax credits, “employment training funds,”
property tax abatement, a “‘strike team’ to expedite all permits and approvals,” promised
legislation to “streamlin[e]” the CEQA approval process, etc.).


                                               - 16 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 17 of 27 PageID #:17




small businesses that lack Amazon’s political and economic power in the state. The agency has

targeted “hundreds of thousands of third-party merchants on Amazon who were informed by

[CDTFA] that they should have been collecting taxes on sales to California residents as far back

as 2012.” 24

        38.      Using names and email addresses supplied by Amazon, CDTFA has targeted the

online merchants who supply goods to Amazon for Amazon’s store. CDTFA’s tactics go beyond

what even the most brazen private debt collector, mindful of the Fair Debt Collection Practices

Act and other restraints on debt collection, would attempt. CDTFA agents have been demanding

that non-residents register with the state to collect sales tax on pain of jail time. For example,

CDTFA personnel have unilaterally concluded that merchants must register with the state, and

then warned merchants that if they “choose not to voluntarily [sic] comply to obtain a sellers

permit,” they could be “guilty of a felony,” fined thousands of dollars, and “imprison[ed] for 16

months, two years, or three years.” 25 When merchants register for prospective tax collection,

CDTFA then goes after the merchants for retrospective taxes back to 2012. 26 Because Amazon did

not collect sales tax on its sales during that period, Amazon’s merchants do not have the tax




        24
          Harold Brubaker, “California Hits Philly-Area Amazon Seller with $1.6 Million Sales-
Tax Bill,” The Philadelphia Inquirer (November 5, 2019),
https://www.inquirer.com/business/california-sales-tax-amazon-seller-philadelphia-business-
20191105.html (emphasis added).
        25
             CDTFA Correspondence to Amazon FBA Suppliers (emphasis added), Exhibit 3.
        26
           February 2018 Email from CDTFA to Amazon FBA supplier (“Your company is
required to file Sales and Use Tax returns on a Quarterly basis with a start date of 9/5/2012. All
sales of tangible personal property are retail sales and subject to tax, unless supported by
documentation as being exempt.”).


                                               - 17 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 18 of 27 PageID #:18




receipts to turn over to CDTFA. Payments would have to come out of revenue or other sources—

money that Ms. Rubinas and merchants like her in general do not have. 27

       39.       Merchants have received seven-figure “assessments” backed up by threats of

criminal prosecution. One illustrative target received a CDTFA demand for $1.6 million for just a

six-month period in California, which exceeded the plausible taxes on “every sale [the merchant

has] ever done.” 28 After the merchant pointed out the obvious error, CDTFA cut the assessment to

approximately $25,000 for just one quarter—raising serious questions about the good-faith basis

for the original demand. Observers have seen a similar pattern in which CDTFA will make large

demands on other merchants, untied to the sales at issue, apparently to gain negotiating leverage

through fear.

       40.       Ms. Rubinas is among CDTFA’s targets. In 2019, CDTFA contacted her and

represented that her business, Lollipop Seeds, owed California use taxes because Amazon chose

to store in California items she supplied to Amazon. Ms. Rubinas trusted CDTFA and its agent,

Ms. Hale, so she registered with the agency and paid the taxes reportedly due for 2019. She also

provided Ms. Hale with data about her business. And then Ms. Hale demanded taxes back to

2017—more than $10,000—which Ms. Rubinas does not have. What California wants is more

than Ms. Rubinas’s entire profits for 2020. Ms. Rubinas informed Ms. Hale of the hardship, but

the agency persisted.

       41.       The two lost touch during the pandemic. On Saturday, December 19, 2020, Ms.

Rubinas opened her mail and was “horrified to find a notice from Chase Bank stating that they had


       27
          See, e.g., California is Clobbering Small Businesses with a Retroactive Tax Grab, The
L.A. Times (December 28, 2020), https://www.latimes.com/opinion/story/2020-12-28/california-
online-sales-tax-retroactive-collection.
       28
            The Philadelphia Inquirer, supra.


                                                - 18 -
     Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 19 of 27 PageID #:19




frozen [her] bank account on orders from CDTFA.” 29 Ms. Rubinas’s business almost failed on

Christmas Day, when her recurring loan payment to Amazon came due. (Amazon offers financing

to participate in FBA, which imposes another level of control over the company’s suppliers.) Ms.

Rubinas had just enough funds for that payment to clear. But when Amazon tries to take out a

payment for storage fees in mid-January, there will be insufficient funds. That will likely lead

Amazon to put Ms. Rubinas in default, seize and liquidate her inventory, and seize any other funds

in her Amazon sales account. Meanwhile, Ms. Rubinas has other mounting obligations to her

suppliers, and is selling inventory at below-cost prices to try and free up cash. But it likely will not

be enough. CDTFA’s actions—culminating in a levy—will destroy her business.

        42.       Given the scandalous history and impacts on real people, how does CDTFA justify

its tax grab? Not by adherence to the Constitution or the rule of law, but by fiat. According to

CDTFA, Amazon’s storage choices give the agency unfettered power over non-residents like Ms.

Rubinas. The agency contends that non-resident merchants like Ms. Rubinas are “required to

collect and pay sales and/or use tax” if, inter alia, they “use, directly or indirectly, or through a

subsidiary or agent, a . . . . place of distribution, . . . warehouse or storage place, or other physical

place of business in California.” 30 CDTFA publications elaborate: “If you use a California

fulfillment center to store your inventory, you are required to register with the CDTFA and file

sales and use tax returns.” 31 CDTFA’s definition of “fulfillment center” tracks and is modeled on




        29
             Rubinas Declaration at ¶ 9.
        30
           CDTFA, “Do You Need to Register with California?,”
https://www.cdtfa.ca.gov/industry/out-of-state-retailers.htm#Registration (first emphasis in
original; second added).
        31
          CDTFA, “Publication 77, Out-of-State Sellers: Do You Need to Register with
California?, Examples,” https://www.cdtfa.ca.gov/formspubs/pub77/#examples.


                                                 - 19 -
       Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 20 of 27 PageID #:20




Amazon’s FBA program: “A fulfillment center is a location, generally a warehouse facility, where

orders for tangible merchandise are received, packaged, and picked up by a common carrier for

shipment to the customer.” 32

         43.   As applied to Amazon’s FBA program, then, CDTFA purports to require foreign

citizens whose goods Amazon unilaterally chooses to store in California to register with the agency

and collect state and district tax on Amazon’s sales of those goods. The Due Process Clause

commands otherwise—personal jurisdiction must arise from the putative subject’s relevant

actions, not from those of a third-party. To the extent the agency even considered due process

before launching its policy, the agency and its agents are willfully or recklessly violating settled

law.

         44.   CDTFA’s policy likewise violates the Internet Tax Freedom Act, which requires

states to impose the same tax-collection obligations on online and brick-and-mortar businesses.

California requires brick-and-mortar consignment stores to collect taxes, and has done so for

nearly a century. 33 After all, consignment store operators are at the point-of-sale and can ensure

that taxes are collected from their customers. As the agency explains to consignment stores, “You

are responsible for . . . paying the sales tax on the retail selling price of consignment sales when

you: have possession or control of the item you are selling, and can transfer ownership or use of

the item to the buyer without further action on the part of the owner.” 34 But CDTFA does the




         32
          CDTFA, “Publication 109, Internet Sales, Online Marketplaces and Fulfillment
Centers,” https://www.cdtfa.ca.gov/formspubs/pub109/#online.
         33
          See CDTFA, Reg. 1569, “Consignees and Lienors of Tangible Personal Property for
Sale,” https://www.cdtfa.ca.gov/lawguides/vol1/sutr/1569.html (“effective August 1, 1933”).
         34
          CDTFA, “Publication 114, Consignment Sales,”
https://www.cdtfa.ca.gov/formspubs/pub114/#Sales.


                                               - 20 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 21 of 27 PageID #:21




opposite in the e-commerce setting—at least when it benefits Amazon at the expense of politically-

powerless non-residents. The agency places the tax collection obligation on consignment suppliers

like Ms. Rubinas. That unequal burdening of non-resident e-commerce merchants is exactly why

Congress passed the Internet Tax Freedom Act—to protect the national economy from parochial

favoritism.

       45.     The fallout from Amazon’s tax avoidance has become a national problem.

California is the most aggressive state, but is not the only state that gave Amazon a pass and is

now looking to weaker parties to foot the bill. Wisconsin tax officials have admitted that the state

gave Amazon tax-free treatment to lure a planned warehouse from Illinois to Kenosha. Following

California’s lead, Wisconsin is now targeting Amazon’s suppliers like Ms. Rubinas for Amazon’s

back taxes. 35 Washington State has pursued non-residents for Amazon’s back taxes because

Amazon directed consumers to return a single item to an Amazon warehouse in Washington.

Massachusetts and other states have taken a similar posture. Much of the effort is run through the

Multistate Tax Commission, which some states use to collaborate on tax enforcement policy. 36

The combined effect is crushing small businesses—just when the pandemic is hitting them too.

                                        Causes of Action

                                            COUNT I

                  CDTFA’s Discrimination Violates the Internet Tax Freedom Act.

       46.     Ms. Rubinas incorporates the foregoing paragraphs as if set forth herein.


       35
           Tripp Baltz, “Amazon Sellers Hit by Huge Back-Tax Across the Country,” (March 2,
2020)      https://news.bloombergtax.com/daily-tax-report-state/amazon-sellers-hit-by-huge-back-
tax-bills-across-the-country.
       36
           See, e.g., Multistate Tax Commission, “FAQs for the Online Marketplace Sellers
Voluntary Disclosure Initiative,” http://www.mtc.gov/Nexus-Program/Online-Marketplace-
Seller-Initiative/FAQ.


                                               - 21 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 22 of 27 PageID #:22




       47.        The Internet Tax Freedom Act (ITFA) prohibits California from, inter alia,

imposing “discriminatory taxes on electronic commerce,” which are defined as taxes that are “not

generally imposed and legally collectible . . . on transactions involving similar property, goods,

services or information accomplished through other means.” 37 The ITFA further prohibits

California from imposing on electronic commerce “an obligation to collect or pay the tax on a

different person or entity than in the case of transactions involving similar property, goods,

services, or information accomplished through other means.” 38

       48.        Amazon FBA is a consignment store. CDTFA imposes the tax-collection obligation

on brick-and-mortar consignment stores. 39 CDTFA does the opposite in the e-commerce setting—

at least where it benefits Amazon—by taking the tax obligation from the consignment store and

placing it on suppliers like Ms. Rubinas.

       49.        That discriminatory treatment of e-commerce burdens the interstate economy and

violates the ITFA.

       50.        CDTFA’s violations of the ITFA are causing Ms. Rubinas irreparable injury.

                                   COUNT II
        CDTFA’s Demand for Money and Seizure of Ms. Rubinas’s Bank Account Violates
                                the Due Process Clause.

       51.        Ms. Rubinas incorporates the foregoing paragraphs as if set forth herein.




       37
         Internet Tax Freedom Act Section 1101(a); Section 1105(2), codified at 47 U.S.C. §
151, Note.
       38
            Id.
       39
          See CDTFA, Reg. 1569, “Consignees and Lienors of Tangible Personal Property for
Sale,” https://www.cdtfa.ca.gov/lawguides/vol1/sutr/1569.html (“effective August 1, 1933”);
CDTFA, “Publication 114, Consignment Sales,”
https://www.cdtfa.ca.gov/formspubs/pub114/#Sales.


                                                 - 22 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 23 of 27 PageID #:23




       52.     By demanding and seizing under threat of criminal and civil punishment money

from a non-resident over whom California lacks personal jurisdiction, CDTFA is violating the

Fourteenth Amendment’s Due Process Clause in multiple ways.

       53.     California lacks personal jurisdiction over Ms. Rubinas for the Amazon sales in

question. In the tax context, a state must have “nexus” to exercise power over a non-resident. The

Supreme Court has long recognized two independent aspects of “tax nexus” that a state must

satisfy to regulate a non-resident. One aspect arises from the Due Process Clause; the other from

the Commerce Clause. Although they are “closely related,” the Due Process Clause and the

Commerce Clause “pose distinct limits on the taxing powers of the States. Accordingly, while a

State may, consistent with the Due Process Clause, have the authority to tax a particular taxpayer,

imposition of the tax may nonetheless violate the Commerce Clause”—or vice versa. Quill Corp.

v. N.D., 504 U.S. 298, 305 (1992) (quoting Bella Hess v. Dep’t of Rev. of Ill., 386 U.S. 743, 756

(1967); citing Tyler Pipe Indus., v. Wash. State Dep’t of Rev., 483 U.S. 232 (1987)). The two

clauses “reflect different constitutional concerns” and are “analytically distinct.” Quill Corp., 504

U.S. at 305. And “while Congress has plenary power to regulate commerce among the States and

thus may authorize state actions that burden interstate commerce, it does not similarly have the

power to authorize violations of the Due Process Clause.” Quill Corp., 504 U.S. at 305 (citation

omitted).

       54.     Among other aspects, the Due Process Clause imposes personal jurisdiction-based

limits on state authority to regulate non-residents. The familiar personal jurisdiction rules from the

litigation context have long applied in the tax context. See, e.g., South Dakota v. Wayfair, Inc., 138

S. Ct. 2080, 2091 (2018) (describing the “minimum contacts” requirement).

       55.     CDTFA is purporting to regulate and tax Ms. Rubinas even though the agency lacks

personal jurisdiction over her. She is a non-Californian. CDTFA bases its jurisdictional claim not

                                                - 23 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 24 of 27 PageID #:24




on her deliberately seeking the protection of California’s laws, but on Amazon’s unilateral decision

to store items in Amazon’s possession in Amazon’s California warehouses and ship orders to

Amazon’s California customers—not Ms. Rubinas’s customers—from those warehouses. That is

jurisdictionally wrong: Amazon’s unilateral actions do not give California power over Ms.

Rubinas. See, e.g., Walden v. Fiore, 571 U.S. 277, 284 (2014); Asahi Metal Indus. Co. v. Superior

Court, 480 U.S. 102 (1987); J. McIntyre Machinery, Ltd. v. Nicastro, 564 U.S. 873 (2011).

       56.     CDTFA’s conduct has caused and will continue to cause damages and irreparable

injury to Ms. Rubinas. Injunctive and declaratory relief is necessary to remedy CDTFA’s

violations of law and to vindicate her due-process rights.

                                           COUNT III

                            CDTFA’s Demands Are Unlawfully Retroactive.

       57.     Ms. Rubinas incorporates the foregoing paragraphs as if set forth herein.

       58.     With limited exceptions, taxing authorities cannot impose retroactive tax

obligations—and certainly not tax obligations stretching back years. Various laws, including the

Commerce Clause, the Due Process Clause, and the Takings Clause, prohibit excessive retroactive

taxes of the type at issue here.

       59.     For most of the period in question, CDTFA knowingly permitted Amazon to refuse

to collect taxes in the company’s store—i.e., the agency did not have or enforce a policy requiring

the collection of taxes on Amazon sales. At some point in late 2018 or early 2019, however,

CDTFA changed the “rules” and began to publicly target Amazon’s suppliers in an open manner;

Ms. Rubinas herself did not receive notice until 2019.

       60.     Rather than enforcing its new “rules” on a prospective basis, CDTFA has enforced

them back to at least 2012—and in the case of Ms. Rubinas, back to at least 2016.




                                               - 24 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 25 of 27 PageID #:25




       61.     CDTFA’s retroactive demands are unlawful and are causing Ms. Rubinas

irreparable injury.

                                           COUNT IV

                            CDTFA’s Actions Violate the Commerce Clause

       62.     Ms. Rubinas incorporates the foregoing paragraphs as if set forth herein.

       63.     CDTFA’s conduct is imposing a significant burden on Ms. Rubinas’s ability to

operate in the interstate marketplace. Meanwhile, CDTFA is privileging in-state interests such as

Amazon’s investments in the state and protecting itself from political retribution for failing to

collect taxes owed to the state.

       64.     Further, CDTFA is depriving Ms. Rubinas of the protections for non-resident small

businesses that the Supreme Court established in South Dakota v. Wayfair, Inc., 138 S. Ct. 2080

(2018). Under Wayfair, states may not impose tax-collection obligations on non-resident small

businesses below a certain threshold, because doing so would unduly burden their participation in

interstate commerce.

       65.     CDTFA’s actions are both discriminatory and unduly burdensome, in violation of

the Commerce Clause.

       66.     CDTFA’s conduct is causing Ms. Rubinas irreparable injury.

                                            Prayer for Relief

       67.     Ms. Rubinas respectfully requests the following relief:

               a.      A declaration pursuant to 28 U.S.C. § 2201 that CDTFA’s conduct and

                       application of California law to her is unconstitutional;

               b.      An order and judgment enjoining CDTFA from further such constitutional

                       violations;

               c.      Return of the unlawfully seized funds;

                                               - 25 -
    Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 26 of 27 PageID #:26




               d.      Costs and attorney’s fees pursuant to 42 US.C. § 1988 and any other

                       applicable laws;

               e.      Damages for CDTFA’s violation of the U.S. Constitution and the Internet

                       Tax Freedom Act where available under law; and

               f.      All other appropriate relief.

                                           Jury Demand

       Plaintiff demands a jury trial on all issues so triable.



Respectfully submitted this 7th day of January 2021.


                                                         s/ Paul K. Vickrey
                                                         Paul K. Vickrey
                                                         Vitale, Vickrey, Niro, Solon & Gasey LLP
                                                         311 S. Wacker Drive, Suite 2470
                                                         Chicago, IL 60606
                                                         Phone: (312) 236-0733
                                                         vickrey@vvnlaw.com

                                                         s/ Aaron K. Block_________
                                                         Aaron K. Block
                                                         The Block Firm LLC
                                                         Georgia Bar No. 508192*
                                                         4200 Northside Parkway NW
                                                         Building 1, Suite 200
                                                         404-997-8419
                                                         aaron@blockfirmllc.com
                                                         (Application for admission pro hac vice
                                                         pending)

                                                         s/ Paul S. Rafelson_________
                                                         Paul S. Rafelson
                                                         Rafelson Schick, PLLC
                                                         Florida Bar No. 16958
                                                         2255 Glades Road, Suite 319
                                                         Boca Raton, Florida 33431
                                                         561-326-6529
                                                         paul@frsattorneys.com



                                                - 26 -
Case: 1:21-cv-00096 Document #: 1 Filed: 01/07/21 Page 27 of 27 PageID #:27




                                            (Application for admission pro hac vice
                                            pending)

                                            Counsel for Plaintiff, Isabel Rubinas




                                   - 27 -
